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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
  Case No.      SACV 07-0794 AG (ANx)                               Date   January 9, 2009
  Title        NAACP v. AMERIQUEST MORTGAGE COMPANY, et al.




  Present: The             ANDREW J. GUILFORD
  Honorable
            Lisa Bredahl                            None Present
            Deputy Clerk                      Court Reporter / Recorder           Tape No.
          Attorneys Present for Plaintiffs:               Attorneys Present for Defendants:
                    Not Present                                     Not Present
  Proceedings:           [IN CHAMBERS] ORDER GRANTING DEFENDANTS
                         HSBC FINANCE CORPORATION AND NATIONAL CITY
                         CORPORATION’S MOTIONS TO DISMISS FOR LACK OF
                         PERSONAL JURISDICTION

 The Court finds this matter appropriate for decision without oral argument. FED. R. CIV.
 P. 78. Accordingly, the Court VACATES the hearing on this matter scheduled for
 January 12, 2009.

 Defendants HSBC Finance Corporation and National City Corporation (collectively
 “Defendants”) filed motions to dismiss for lack of personal jurisdiction (collectively the
 “Motions”). Plaintiff National Association for the Advancement of Colored People
 (“Plaintiff”) states that it does not oppose the Motions. The Court GRANTS the Motions.

 BACKGROUND

 In this section, the Court assumes as true the facts as stated in the Motions. Defendant
 HSBC is a corporation that has never taken a mortgage application or made a mortgage
 loan. (HSBC Mot. 1:9-10.) Defendant National City is a holding company that does not
 make mortgage loans or otherwise conduct mortgage-related business. (National City
 Mot. 1:2-5.) Plaintiff filed a complaint against Defendants, among others, for violations
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 of the Fair Housing Act, the Equal Credit Opportunity Act, and the Civil Rights Act.
 (Compl. ¶¶ 7-8.) Defendants filed the Motions. Plaintiff does not oppose the Motions.
 (Opp’n 1:3-17.) In fact, Plaintiff states that Defendants “may not be the particular HSBC
 and National City entities which are engaged in the mortgage loan business that is the
 subject of this action.” (Id. 1:4-6.) Thus, Plaintiff has “no opposition to the dismissal of
 these defendants.” (Id. 1:10-11.)

 LEGAL STANDARD

 A defendant may bring a motion to dismiss for lack of personal jurisdiction. FED. R. CIV.
 P. 12(b)(2). The defendant is the moving party, but the plaintiff bears the burden of
 making a prima facie showing of facts establishing personal jurisdiction by a
 preponderance of the evidence. Rio Properties, Inc. v. Rio Int’l Interlink, 284 F.3d 1007,
 1019 (9th Cir. 2002). “The Due Process Clause protects an individual’s liberty interest in
 not being subject to the binding judgments of a forum with which he has established no
 meaningful ‘contacts, ties, or relations.’” Burger King Corp. v. Rudzewicz, 471 U.S. 462,
 471-72 (1985) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 319 (1945)).

 ANALYSIS

 Defendants argue that they do not take mortgage applications or make mortgage loans.
 Plaintiff acknowledges that it erroneously named Defendants in this lawsuit. The Court
 does not have personal jurisdiction over Defendants.

 DISPOSITION

 The Court GRANTS the Motions.

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                                                    Initials of
                                                    Preparer             lmb

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